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                ANNUAL                   REPORTS

                                OF     THE




     CITY OFFICERS AND CITY BOARDS
                                OF    THE




               CITY OF SAINT PAUL,



        FOR THE FISCAL YEAR ENDING DECEMBER 31 , 1888.




                     D.
                            GLOBE JOB OFFICE ,
                          RAMALEY    & SON ,
                                    1889 .
                                               PRINTERS ,
                                                            11
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                     OF THE CITY OF SAINT PAUL , FOR 1888 .                         689


       RULES AND REGULATIONS OF THE PUBLIC PARKS AND GROUNDS
                             OF THE CITY OF SAINT PAUL .

         1. No person shall drive or ride in any Park in the City of Saint Paul at a
      rate exceeding seven ( 7 ) miles per hour.
         2. No person shall ride or drive upon any other part of any Park than the
      avenues and roads.
         3. No coach or vehicle used for bire shall stand upon any part of any Park
      for the purpose of hire , unless licensed by the Board of Park Commissioners.
         4. No person shall indulge in any threatening or abusive, insulting or
      indecent language in any Park .
         5. No person shall engage in any gaming nor commit any obscene or
      indecent act in any Park .
         6. No person shall carry firearms or shoot birds in any Park or within fifty
      yards thereof, or throw stones or other missiles therein .
         7. No person shall disturb the fish or water fowl in any pool or pond or
      birds in any part of any Park , or annoy , strike, injure, maim or kill any
      animal kept by direction of the Board of Park Commissioners, either running
      at large or confined in a close ; nor discharge auy fireworks, nor affix any bills
      or notices therein .
          8. No person shall cut, break or in anywise injure or deface the trees,
       shrubs, plants, turf, or any of the buildings, fences, bridges, structures or
      statuary, or foul any fountain , well or spring within any Park .
          9. No person shall throw any dead animal or offensive matter, or substance
       of any kind into any lake, stream or pool, within the limits of any Park .
          10. No person shall go in to bathe within the limits of any Park .
          11. No person shall turn cattle, goats, swine, horses, dogs or otheranimals
       loose in any Park, nor shall any animals be permitted to run at large therein .
          12. No person shall injure, deface or destroy any notices, rules or regula
       tions for the government of any Park , posted or in any other way fixed by
       order or permission of the Board of Park Commissioners within the limits of
       any Park .
          13. Complaints against any employe of any Park may be made at the office
       of the Superintendent of Parks.
          14 No person shall use any Park drive for business purposes, or for the
       transportation of farm products, dirt or any like material, or for the passage
       of teams employed for such purposes.
          Any person who shall violate any of the foregoing rules and regulations
       shall be guilty of a misdemeanor, and for each and every offense shall be fined
       not less than the sum of Five Dollars ( $5 ) , nor more than Fifty Dollars ( $50 ).
       which sum shall be paid into the city treasury for park purposes.
                                                        John 1. ESTABROOK,
                                                                      Superintendent.
